           Case 2:07-cr-00120-WBS Document 14 Filed 03/23/07 Page 1 of 2


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6
     Attorney for Defendant
 7   DANIEL WACKERMAN
 8
 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. MAG 06-013 CMK/GGH
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER
          v.                         )
16                                   )
     DANIEL WACKERMAN,               )     Date:   April 23, 2007
17                                   )     Time: 2:00 p.m.
                    Defendant.       )     Judge: Hon. Dale A. Drozd
18                                   )
     _______________________________ )
19
20        DANIEL WACKERMAN, by and through his counsel, Caro Marks,
21   Assistant Federal Defender, and the United States Government, by and
22   through its counsel, Heiko Coppola, Assistant United States Attorney,
23   hereby stipulate and agree to vacate the previously scheduled
24   preliminary hearing date of March 23, 2007 and set a preliminary
25   hearing date of April 23, 2007 at 2:00 p.m..
26        A continuance is necessary to both parties to continue their
27   pretrial investigations. Particularly, defense counsel needs additional
28   time to consult with the defendant and attempt a pretrial resolution of
              Case 2:07-cr-00120-WBS Document 14 Filed 03/23/07 Page 2 of 2


 1   the case, which features numerous individuals allegedly involved in an
 2   international drug conspiracy.
 3        IT IS STIPULATED that the period from the signing of this Order,
 4   through and including April 23, 2007 be excluded in computing the time
 5   within which trial must commence under the Speedy Trial Act, pursuant
 6   to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 7   preparation of counsel. The government fully concurs with this request.
 8   Dated:    March 21, 2007
                                               Respectfully submitted,
 9                                             DANIEL BRODERICK
                                               Federal Defender
10
11                                             /s/ Caro Marks
                                               ________________________
12                                             CARO MARKS
                                               Assistant Federal Defender
13                                             Attorney for Defendant
                                               DANIEL WACKERMAN
14
15   Dated: March 22, 2007
16                                             MCGREGOR SCOTT
                                               United States Attorney
17
18                                             /s/ Heiko Coppola
19                                             HEIKO COPPOLA
                                               Assistant U.S. Attorney
20
21                                          ORDER
22   IT IS SO ORDERED.
23   Dated:    March 22, 2007.
24
                                               Edmund F. Brennan
25                                             U.S. Magistrate Judge
26
27
28


                                              -2-
